Case 2:07-mj-08907-PCL Document 1 Filed 11/05/07 PagelD.1 Page 1 of 25

Arrest on Out-of-District Offense

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

 

 

ARREST ON OUT-OF-DISTRICT OFFENSE

07 MJ 8907

Magistrate Case Number:

The person charged as__ Epifanio MERCADO __now appears before this United States District Court
for an initial appearance as a result of the following charges having been filed in the United States District Court
for the Central District of California
with_Conspiracy to Possess with Intent to Distribute and Distribute Cocaine

in violation of Title 21, United States Code, 841(a)(1) & 846

 

The charging documents and the warrant of the arrest of the defendant which was issued by the above
United States District Court are attached hereto.

Thereby swear under penalty of perjury that the foregoing is true and correct to the best of my knowledge,
information and belief.

DATED: _ November 5, 2007 .

 

 

MARC L. McCULLOCH

Special Agent

Federal Bureau of Investigation
(Name)

Reviewed and Approved:

 

Dated: _ November 5, 2007

~~ FILED

 

 
      

 

 

 

Qh. ¢ clu 0.6 2007
OHN F. WEIS NOV der
Assistant United States Attorney ie 8 eTTeOT

 

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United States District Court

CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA
v. WARRANT FOR ARREST
ON COMPLAINT
EPIFANIO MERCADO
CASE NUMBER:
To: The United States Marshal or any 0 / ] Os
Authorized United States Officer ~ ( y o M

YOU ARE HEREBY COMMANDED to arrest EPIFANIO MERCADO

Name

Code, Section 846 .
To Re. S27
with Bail fixed at $37 Over Je 7 Zeke —
REC:BY AUSA DETENTION
Date: _Octoberd¥2007 HONORABLE SUZANNE H. SEGAL

 

Name of Magistrate J udge

ch Cok Lye hb reel

Signatire of Magistrate jaded

 

 

RETURN

This warrant was received and executed with the arrest of the above-named

 

defendant at

 

 

DATE RECEIVED NAME & TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER

 

DATE OF ARREST

 

 

 

 

 

 

 

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CRIMINAL COMPLAINT

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UNITED STATES DISTRIc?T COURT

 

 

 

 

 

 

 

UNITED STATES oF AMERICA
Vv.

EPIFANIO MERCADO
and RICARDO NAVA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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United Stateg Code,

Section 846
ribute and Distribut

© Cocaine)

 

NAME OF MAGISTRATE JUDGE

 

HONORABLE SUZANNE ¥. SEGAL

UNITED STATES
MAGISTRATE JUDGE

LOCATION

 

Los Angeles, CA

 

DATES OF OFFENSES
August 7, 2006~
July 11, 2007

PLACE OF OFFENSE

COMPLAINANT!

 

ADDRESS oF ACCUSED (IF KNOWN)

Los Angeles County

Otic drug cont

, United States Code, Section 841 (a) (1).

 

 

 

 

 

 

 

 

 

 

BASIS OF COMPLAINANT
(See attached affie

me.

'S CHARGE AGAINST THE ACCUSED:
avit which is incorporated ag part of this Complaine)

 

 

 

 

 

 

 

 

 

 

MATERIAL WITNESSES IN RELATION TO THIS CHARGE

 

Reing duly 5Worn,
foregoing is true
best of my knowled

I declare that the
and correce ta the
ge,

SIGNATURE oF COMPLAINANT

SHAHNAZ Pp, VARGHESE

 

OFFICIAL TITLE
SPECIAL AGENT-DEA

 

 

ed in my presence,

 

SUZANNE H. SEGAL

DATE

 

 

 

 

 

 

8 of Criminal Proced
REC: DETENTIO

Mre rules 3 and
N (warrant)

October 26, 2007
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AFFIDAVIT

 

I, Shahnaz P. Varghese, hereby swear and affirm as follows:
I. INTRODUCTION

l. I am an "investigative or law enforcement officer" of
the United States within the meaning of Section 2510(7) of Title
18, United States Code, that is, an officer of the united States
who is empowered by the law to conduct investigations of and to
make arrests for the offenses enumerated in Section 2516 of Title
18 of the United States Code.

2. I have been employed as a Special Agent ("SA") with
the United States Drug Enforcement Administration ("DEA") since
January 2005. I am Currently assigned to a Southwest Border
group of the Los Angeles Field Division, tasked to investigate
large-scale narcotics Organizations. Prior to employment with
the DEA, I was a prosecuting attorney for approximately eighteen
months. I have received specialized training while attending the
DEA Training Academy in Quantico, Virginia, concerning violations
of the Controlled Substances Act within Title 21 of the United
States Code. During my employment with DEA, I have conducted and
participated in a number of narcotics investigations along with
other experienced SAs and law enforcement personnel. These
investigations involved: the unlawful importation, manufacture,
possession with intent to distribute, and distribution of

narcotics (including cocaine, heroin, and methamphetamine), the

 
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laundering of narcotics Proceeds and monetary instruments derived
from narcotics activities, and conspiracies associated with
narcotics offenses. These investigations have involved
debriefing defendants, witnesses, and informants, xecruiting and
directing informants, conducting Surveillance and Celephone tol}
analysis, applying for court orders authorizing wire
interceptions, conducting wire intercept investigations, and
applying for and executing state search warrants as well ag
executing federal search warrants. The investigations have
resulted in the seizure of narcotics and Narcotics-related
assets, and arrests for Nnarcotics-related offenses.

3. This affidavit is made in support of a criminal
complaint against and arrest warrants for EPIFANIO MERCADO
(“MERCADO” ) and RICARDO NAVA (“NAVA”) for violations of 21 U.S.c.
§§ 846, 841 (a) (1) (Conspiracy to distribute cocaine and
possession of. cocaine with intent to distribute) , This affidavit
is also made in Support of search warrants for Subject premises
associated with MERCADO and NAVA, Specifically: (1) 1211 Rock
Springs Road, Norco, California (“SUBJECT PREMISES 1”); and (2)
23475 Marshall Street, Perris, California (“SUBJECT PREMISES a"),
The subject Premises are fully described in Attachment a for each
Warrant. I believe the subject premises contain evidence,
instrumentalities, and fruits of violations of 21 U.S.C, 55 846

841 (a) (1) (conspiracy to distribute cocaine and Possession of

 
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cocaine with intent to distribute). The items to be seized at
each location are fully described in Attachment B to each
warrant.

4. I make this affidavit based upon information and
evidence provided by witness statements, discussions, and reports
submitted by other investigative law enforcement officers and
agents, as well as Physical evidence, telephone calls intercepted
Pursuant to court-authorized wiretaps, and my Own personal
knowledge and experience. Because this affidavit is being

submitted in Support of a search Warrant, I have not included
€ach and every fact known to me concerning this investigation,

5. Some of the intercepted conversations were in English,
but most were in Spanish. I base my knowledge of the contents of
a call on transcripts or summaries prepared by agents or other
monitors who listened to the calls; occasionally I have listened
to the actual recording of a call. For calls not in English, I
have relied on translations.

6. The identities of the SuspectS were ascertained through
a variety of methods. Some of these methods included names used
by the speakers themselves during intercepted conversations, and
Surveillance activity, including enforcement activity by local
law enforcement agencies, where the drivers of Particular
vehicles were identified. The Speakers also were identified by

subscriber information, Surveillance, voice identification by

 
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agents and monitors who have compared voices, or by the speakers’
own identification of themselves. The intercepted conversations
were occasionally in English, but primarily in Spanish.

7. During the intercepted conversations, MERCADO, and
others, used Cryptic or coded language to discuss narcotics
trafficking over the telephones. Through training and
experience, I have determined that many of the terms used
describe narcotics Or Narcotics-related activity.

II. PROBABLE CAUSE THAT CRIMES HAVE OCCURRED
A. OVERVIEW OF THE INVESTIGATION

8. Since 2006, the DEA and other law enforcement agencies
have been investigating MERCADO and his cousin NAVA. On November
1, 2006, asa result of a traffic stop of a vehicle driven by
NAVA in Bellflower, California, approximately eight kilograms of
cocaine were located inside the vehicle and seized by law
enforcement authorities. In addition, on December 9, 2006,
approximately 20 kilograms of cocaine were seized from a trailer

truck driven by Rafael Nava-Mercado (“RAFAEL”) , MERCADO’S uncle.

B. THE 8-KILOGRAM SEIZURE ON NOVEMBER 1, 2006

9, Based on information I received from other agents, I

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know that the following occurred On November 1, 2006.

a. On the morning of November 1, 2006 Surveillance
agents observed NAVA and MERCADO exit a residence located at 1211
Rock Springs, Norco, CA (SUBJECT PREMISES 1) and drive in a white
Toyota Camry with no license plates to the area of Perris, ca,

b. Due to the high rate of Speed the Camry was
driving (in excess of 80 mph), surveillance agents were unable to
determine the location(s) in Perris where the Toyota Camry
arrived at. Based on my training and experience and other
information from the investigation, I believe that NAVA traveled
in the white Toyota Camry to SUBJECT PREMISES 2 in order to drop
off MERCADO at his residence (SUBJECT PREMISES 2).

10. On November 1, 2006, at approximately 1:05 p.m., Los
Angeles Sheriff's Department (“LASD”) Deputies were conducting
Surveillance in a Staples Shopping center off the 91 Freeway and
Lakewood Boulevard.

a. Deputies observed a black male, approximately six
feet tall, 200 pounds, walk to the same white Toyota Camry that
surveillance agents had observed that morning at SUBJECT PREMISES
1. The black male Sat inside the white Camry . Shortly
thereafter, NAVA and the black male stepped out of the white
Camry and walked inside the Staples store.

b. At approximately 1:20 P.m., the black male and

NAVA left the Staples store and walked to their vehicles. The

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Camry. Shortly thereafter, the black male's gold Camry left the
Staples Parking loc, followed by the white Camry driven by NAVA.
11. At approximately 1:23 P.m., LASD Deputies conducted a
traffic Stop of the white Toyota Camry with no license plates on
it in order to warn and/or cite the driver of the vehicle for the
violation.
a. NAVA identified himself to a Lasp Deputy. A LASD
Deputy asked NAVA for his driver’s license and NAVA told the
Deputy that his license was suspended. Deputies conducted a
records check ang discovered three warrants for NAVA’s arrest.
b. Thereafter, LASD Deputies arrested NAVA for the
Warrants and impounded the vehicle. A LASD Deputy asked NAVA if
there was anything illegal inside the vehicle and NAVA told the
Deputy “no.”
12. At approximately 1:27 p.m., pursuant to impounding the
vehicle, a search of the Camry was conducted,
a. LASD Deputies discovered the bottom cushion of the
back seat of the Camry to be loose. They lifted the Seat bottom

and found a plate that was not flush with the body of the

b. LASD Deputies removed the plate and found a hidden
compartment with eight packages, wrapped in Cape, which were of

Similar size, shape and weight and appeared to look like kilogram

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Sized packages of cocaine. A LASD Detective cut one of the eight
packages open, which revealed a white powdery substance
resembling cocaine. A subsequent test of the white powdery
Substance was confirmed Co be cocaine.
on THE 20-KILOGRAM SEIZURE ON DECEMBER 9, 2007

13. On December 9, 2006, at 12:28 a.m., a Kansas Highway
Patrol Trooper conducted a commercial vehicle inspection on a
white 2004 Volvo Semi-Truck. The Trooper contacted the driver,
RAFAEL Nava-Mercado.

a. The Trooper conducted a consénsual search of the
vehicle and located ig bricks of what appeared to be cocaine with
a combined approximate gross weight of 20.2 kilograms. A
Subsequent test of the bricks confirmed the bricks Co be cocaine.

b. RAFAEL was arrested and admitted to Agents that he
had touched the cocaine and the compartment and had knowledge of
the cocaine being in the truck.

14. On December 11, 2006, court-authorized interceptions of
a telephone being utilized by MERCADO revealed the following:

a. MERCADO said they could net fing the truck.
MERCADO said that the people that were receiving the load had
called the uncle’s wife and said that if there had been a
Warrant, they would have called him to tell him to come pick up
the load. Unidentified Male (UM) 44 said it was tough. UM44

asked if “Rob” had gone. MERCADO said this was already 5 or 6

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had gotten out, they had taken all the money. MERCADO said it
was all strange.

b. Based on my training and experience and knowledge

in this investigation, I believe MERCADO Was referring to the

receiving the legitimate load of items which RAFAEL was
delivering had been calling RAFAEL’s wifé to find out RAFAEL’ s
whereabouts. f believe MERCADO indicated that “Rob,” the
intended recipient of the 20 kilograms seized, had changed his
telephone numbers and MERCADO could not get a hold of him.

15. On December 11, 2006, at approximately 12:57 p.m.,
MERCADO and uM44 spoke again.

a. UM44 asked if the “taxi” was full. MERCADO said
he was really upset, but not So much about “that.+ MERCADO said
he just wanted to know what happened to that guy. MERCADO Said,
“it” didn’t mean anything to him. MERCADO said he was having a
gang of problems with hig girl. UM44 said they would be moving
“stuff” already. MERCADO Said he didn’t “give a fuck about that”

and just wanted to find homeboy.

 
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b. Based on my training and experience, I believe .
when UM44 asked if the “taxi was full,” he was asking MERCADO if
the truck driven by RAFAEL had narcotics in it. I believe
MERCADO indicated that he was not concerned about the narcotics,
but just wanted to know what happened to his uncle.

16. On December 15, 2006, at approximately 4:34 p.m., court
authorized interceptions on a telephone utilized by MERCADO
indicated the following:

a. MERCADO asked “SKIP” if he was almost done. SKIP
said he was and asked MERCADO what he was going to do. MERCADO
said he was going to send someone and wanted to know when SKIP
would be ready. SKIP said he would know more in the morning.
SKIP told MERCADO to let him know when MERCADO was ready to send
“them”, and that SKIP would be done by then. MERCADO asked SKIP
if he got rid of some. SKIP answered in the affirmative and said
he was pretty much done. SKIP said he had someone who was
Supposed to come out and meet SKIP tonight and that while this
person was taking care of that, he was going to “vacuum-seal the
cheese.” MERCADO said he did not know if ROB had anything to do
with it because “those things” were supposed to be for him, and
all of a sudden he disappeared. MERCADO said he was somewhere

out here in MERCADO’s area, but he did not want talk to MERCADO.
SKIP asked MERCADO if he believed “he” (ROB) was hot. MERCADO
said he believed “he” (Rop) Probably jacked the uncle and tied

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him up or something. MERCADO said he did not know what to

believe anymore. The Call continued with MERCADO asking SKIP if

bird. SKIP sai@ he was coming back on the ground since he drove
the car out to SKIP’s area with the pistols. MERCADO asked SKIP
if he believed he would bring “that” if MERCADO were to give
GIGOLO some “cheese.” SKIP said he would let MERCADO ask him and
put GIGOLO on the line. MERCADO asked GIGOLO if he would bring
back that “paper.” MERCADO Said he wanted to avoid having to
send someone to Pick it up. MERCADO asked GIGOLO if it was “hot”
coming back and GIGOLO said it was and that he no longer did
that. MERCADO told GIGOLO that he would send a guy and did not
want to be responsible if something happened.

b. Based on my training and experience, I believe
MERCADO began by asking whether sSxKIp had finished selling all the
cocaine MERCADO had supplied so that MERCADO could send someone
up to where SKIP was to collect the money. I believe MERCADO
indicated to SKIP that he still could not find RAFAEL and that he
wondered if the individual named rop had anything to do with

RAFAEL’s disappearance. I believe when MERCADO said “those

20 kilograms of cocaine found in the truck driven by RAFAEL were

intended for an individual named ROB.

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a. MERCADO said he found homeboy but that fool was
gone. JUAN asked MERCADO if he was referring to the “taxi.”
MERCADO said yes and that the foo] Was gone. MERCADO said the
“taxi was already asleep” and that. fool was the only fool that
knew that. JvAN said “oh shit.- MERCADO said “he” (RAFAEL)
was found not teo long ago in Kansas. Juan said the people out
there had to have had something to do with it. JUAN said this
guy told JUAN that all ROB had lost was the “paper” Juan had told
MERCADO about. MERCADO said ROB knew everything.

B. Based on my training and experience, I believe
MERCADO indicated to JUAN that his uncle RAFAEL was located in
Kansas but Rob had disappeared. J believe when MERCADO said the
“taxi was already asleep,” he was indicating that RAFAEL was in
jail and the kilograms of cocaine had already been Seized. f[
also believe MERCADO thought ROB was the only one who knew about
the kilograms of cocaine and therefore was the reason why RAFAEL
had gotten caught with the narcotics in his truck.

18. On July 3, 2007, DEA Task Force Officers interviewed

 
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9, 2006 was RAFAEL’ s nephew, MERCADO. RAFAEL stated MERCADO’ s
right-hand man WaS MERCADO’s cousin NAVA. DEA Task Force
Officers showed RAFAEL pictures, without names or identifiers, of
MERCADO and NAVA. RAFAEL POSitively identified both individuals
and wrote their names next to each of their Photographs.
IIl. PROBABLE CAUSE FOR ITEMS TO BE SEIZED
19. For the following reasons, I believe that SUBJECT

PREMISES 1 is a reSidence or stash house used by MERCADO.

a. Surveillance officers observed MERCADO and NAVA
leaving 1211 Rock Springs Dr. (SUBJECT PREMISES 1) on November 1,
2006.

b, AutoTrack/Choice Point Data information has a Sara
Mercado listed under the address at 1211 Rock Springs Dr. ft
believe Sara Mercado is a relative of MERCADO because
AutoTrack/Choice Point Data also lists an alternate address of
Sara Mercado’s as the same address on MERCADO’s driver's license.

¢. Based on my training and experience, and what I

have learned in this investigation, I believe MERCADO does not

subscriber of the telephone. In addition, the electricity

records for this address were subpoenaed for this residence on

 
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October 1, 2007. The electricity subscriber for this address is
listed as Sahira Savilla. I believe Sahira Savilla is not the
true billing party at this address. Based on my training and
experience, I know that narcotics traffickers will attempt to
hide their true identity through various means, including, using
false subscriber names on the telephone(s) they use, listing
their homes in relatives’ or friends’ names, and driving vehicles
registered to others.
20. For the following reasons, I believe that SUBJECT

PREMISES 2 is MERCADO’S primary residence:

a. Surveillance conducted by other agents indicates
that MERCADO’s primary residence is a ranch located at 23475
Marshall St., Perris, CA.

b. The electricity subscriber at this address lists a
Delia Mercado as the billing party. I believe Delia Mercado ig a
relative of MERCADO. AutoTrack/Choice Point Data also lists an
Adella Mercado under the address of SUBJECT PREMISES 2. In
addition, an alternate address of Adella Mercado’s is listed in
AutoTrack data as the same address on MERCADO’ driver’s license
(12141 Magnolia St., El Monte, CA).

c. In an interview with a Law Enforcement Agent,
MERCADO declared ownership of SUBJECT PREMISES 2. |

d. On February 21, 2007, a state search warrant was

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executed at SUBJECT PREMISES 2 after information Provided by a
person believed to be an associate of MERCADO led law enforcement
officers to believe that SUBJECT PREMISES 2 was a meeting
location for MERCADO and his narcotics associates. During the
search of SUBJECT PREMISES 2, photographs of MERCADO were seen
indicating MERCADO's possible ownership of SUBJECT PREMISES 2. In
addition, MERCADO's mother was present at SUBJECT PREMISES 2 and
Stated to law enforcement officers that MERCADO was the owner of |
the property.

e, During the search of SUBJECT PREMISES 2, no
narcotics were located. The law enforcement agents who executed

the warrant believe that the reason no narcotics were located was

that MERCADO and/or his associates had been given a prior warning
that law enforcement was going to conduct a search warrant at
SUBJECT PREMISES 2, and therefore any narcotics which might have
been present at SUBJECT PREMISES 2were removed from SUBJECT
PREMISES 2 prior to the Search warrant being executed.

21. Based upon my training and experience, I know that
traffickers not only maintain multiple residences, but also keep
drug trafficking evidence within reach to facilitate their
trafficking activity. Furthermore, the evidence described above
Clearly demonstrates that MERCADO has engaged in an ongoing

Pattern of drug trafficking for a Significant period of time.

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Moreover, given the large quantities of drugs and currency
distributed by MERCADO, I believe MERCADO has been involved in
drug trafficking for a much longer Period of time than the period
of the investigation. tf believe MERCADO runs a large Crafficking
Operation with more than one stash house is Suggested by his
direction of other traffickers, his apparent ability to casually
absorb financial loss (the loss of the 20 kilograms of cocaine
driven by RAFAEL), and his potential willingness to front drugs
to customers such ag SKIP.
A, GENERAL ITEMS

22. Based on my training and experience, as well as my
conversations with senior agents and officers, I know the
following about the use of businesses, residences, and vehicles
by narcotics traffickers (hereinafter “traffickerg”):
| a. Trafflickers often place assets in names other than
their own, to avoid detection of these assets by Government
agencies. Even though those assets are in other persons! names
the traffickerg continue to use those assets and exercise
dominion and control over them.

b. Traffickers commonly "front" drugs to their
customers by providing them narcotics prior to receiving Payment.
Traffickers maintain books, records, customer lists, receipts,
notes, ledgers and Other papers relating to the transportation,

ordering, gales and distribution of controlled substances and

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equipment, even though such documents may be in code. That the
aforementioned books, records, receipts, notes, ledgers, etc.,
are commonly maintained where the drug traffickers have ready
access to them - £.g., homes, offices, automobiles. Trafiickers
also keep evidence of financial transactions relating to the
obtaining, transferring, secreting, or Spending of large sums of
money made from engaging drug trafficking activities in their
residences, offices, garages, storage buildings, automobiles, and
safe deposit boxes.
Cc. Traffickers frequently rent Storage lockers to
store controlled substances, and traffickers often have in their
immediate possession, or in their residences, keys, receipts, and
other documents evidencing the rental of said storage lockers.
‘Traffickers commonly maintain in their residences addresses or
telephone numbers in books or papers that reflect names,
addresses, and/or telephone numbers for their associates in the
drug trafficking Organization, even if these items may be in
code.
qd. Traffickers often store information regarding
their drug trafficking on computer databases. This information
may be as simple ag customer lists and may be as elaborate as
documenting current transactions relating to narcotics
trafficking.

e. Traffickers often launder money obtained through

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illegal drug transactions through legitimate businesses.
Traffickers who are involved in such money laundering often
Structure financial transactions to avoid reporting requirements,
and often keep records of their activities and financial
transactions. Nonetheless, to escape detection they mix and
intermingle those records with records of lawful transactions, in
such instances, it is necessary to analyze the entire record to
isolate the records of unlawful transactions, and it is not
feasible to extract the records of unlawful activities without
such analysis.

f. Unexplained wealth is probative evidence of crimes
motivated by greed, in particular, trafficking in controlled
Substances. Expensive items, particularly portable or leased
items, such as jewelry, automobiles, audio-visual equipment, and
precious metals, are indicative of narcotics trafficking when
there is no indication that these items were purchased with
income for legitimate sources.

g. Traffickers frequently continue their criminal
activity over months and even years. The traffickers typically
will obtain and distribute controlled substances on a regular
basis, much as any distributor of a legitimate commodity would
purchase stock for sale such drug traffickers will also have an

"inventory" which will fluctuate in size depending on the demand

for the product.
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h. The trafficker keeps receipts of his or her
illegal activities for a4 period of time extending beyond the time
during which he or she actually possesses illegal controlled
substances. These records allow the trafficker to maintain
contact with his or her criminal associates for future drug
transactions, and so that he or she can have records of prior
transaction for which, for example, he might still be owed money,
or might owe someone else money. In my conversations with more
experienced agents, I have become aware of cases in which
traffickers have maintained evidence or prior trafficking
activities for three years after those activities.

1. Traffickers often have firearms and Other weapons
at their residences and stash houses to protect their narcotics
and the proceeds of their narcotics trafficking.

23. Along with my general knowledge of narcotics
traffickers and their use of residences and stash houses to
further their trafficking activity, I know that both MERCADO and
NAVA were present at SUBJECT PREMISES 1 on the day that NAVA was
found with 8 kilograms of cocaine in his car. MERCaDO and NAVA
Probably also drove to SUBJECT PREMISES 2.

B. COMPUTER DATA

24. Based upon my training and experience and information

related to me by agents and others involved in the forensic

examination of computers, I know that computer data can be stored

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on a variety of systems and storage devices including hard disk
drives, floppy disks, compact disks, magnetic tapes and memory
chips. I also know that during the search of the premises it is
not always possible to search computer equipment and storage
devices for data for a number of reasons, including the
following:

a. Searching computer systems is a highly technical
process which requires specific expertise and specialized
equipment. There are so many types of computer hardware and
software in use today that it is impossible to bring to the
search site all of the necessary technical manuals and
specialized equipment necessary to conduct a thorough search. In
addition, it may also be necessary to consult with computer
personnel who have specific expertise in the type of computer,
software application or operating system that is being searched.

b. Searching computer systems requires the use of
precise, scientific procedures which are designed to maintain the
integrity of the evidence and to recover “hidden,” erased,
compressed, encrypted or password-protected data. Computer
hardware and storage devices may contain “booby traps” that
destroy or alter data if certain procedures are not scrupulously

followed. Since computer data is particularly vulnerable to

inadvertent or intentional modification or destruction, a

controlled environment, such as a law enforcement laboratory, is

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essential to conducting a complete and accurate analysis of the
equipment and storage devices from which the data will be
extracted.

c. The volume of data stored on many computer systems
and storage devices will typically be so large that it will be
highly impractical to search for data during the execution of the
physical search of the premises. A single megabyte of storage
Space is the equivalent of $00 double-spaced pages of text. A
Single gigabyte of storage space, or 1,000 megabytes, is the
equivalent of 500,000 double-spaced pages of text. Storage
devices capable of storing 160 gigabytes (GB) of data are now
commonplace in desktop computers. Consequently, each non-
networked, desktop computer found during a search can easily
contain the equivalent of 80 million pages of data, which, if
printed out, would completely fill a 35' x 35’ x 10! room to the
ceiling. Further, a 160 GB drive could contain as many as
approximately 150 full run movies or 150,000 songs.

a. Computer users can attempt to conceal data within
computer equipment and storage devices through a number of
methods, including the use of innocuous or misleading filenames
and extensions. For example, files with the extension ‘.jpg"
often are image files; however, a user can easily change the
extension to “.txt” to conceal the image and make it appear that

the file contains text. Computer users can also attempt to

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conceal data by using encryption, which means that a password or
device, such as a “dongle” or “keycard,” is necessary to decrypt
the data into readable form. In addition, computer users can
conceal data within another seemingly unrelated and innocuous
file in a process called “steganography.” For example, by using
steganography a computer user can conceal text in an image file
which cannot be viewed when the image file is Opened. Therefore,
a substantial amount of time is necessary to extract and sort
through data that is concealed or encrypted to determine whether
it is evidence, contraband Ox instrumentalities of a crime.
Iv. SEALING REQUEST

25. At or around the time the arrest and search warrants
requested herein are executed, law enforcement officers will be
arresting multiple targets of the government’s criminal
investigation ana executing multiple search warrants at numerous
locations within Los Angeles County and elsewhere within the
Central District of California. Premature disclosure of the
contents of this affidavit could seriously impede the
government's efforts to execute the additional arrest and search
warrants by providing unarrested targets with information that
may result in their attempts to flee or to destroy evidence.

Accordingly, I request that the Court issue an order sealing this

affidavit until further order of this Court.

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V. CONCLUSION

26. Based upon my training, experience, and the facts
stated herein, I believe there is probable cause to believe that
EPIFANIO MERCADO and RICARDO NAVA have violated 21 U.S.C, S§ 846,
841 (a) (1) (conspiracy to distribute cocaine and possession of
cocaine with intent to distribute). I further believe that the
items listed in Attachment B to each Search warrant are the
fruits, instrumentalities, and evidence of violations of 21
U.S.C. §§ 846, 841(a) (1) and will be found at SUBJECT PREMISES 1]
and SUBJECT PREMISES 2, as more fully described in Attachment a

fo each warrant.
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joiv |
SHAHNAZ P. VARGHESE
Special Agent
Drug Enforcement Administration

SUBSCRIRED TO AND SWORN BEFORE ME
THIS DAY OF OCTOBER, 2007

— ee

SUZANNE H. SEGAL

HONORABLE SUZANNE H. SEGAL
UNITED STATES MAGISTRATE JUDGE

 

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